  Case 2:21-cv-00067-Z Document 45 Filed 05/31/21         Page 1 of 5 PageID 977



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )   Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )


                                ADMINISTRATIVE RECORD
   Case 2:21-cv-00067-Z Document 45 Filed 05/31/21               Page 2 of 5 PageID 978

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                               )
STATE OF TEXAS,                                )
STATE OF MISSOURI,                             )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )    Civil Action No. 2:21-cv-00067-Z
                                               )
 JOSEPH R. BIDEN, JR.,                         )
 in his official capacity as                   )
 President of the United States, et al.,       )
                                               )
       Defendants.                             )
                                               )

                                           CERTIFICATION
       My name is Juliana Blackwell. I am employed with the U.S. Department of Homeland
Security, as the Deputy Executive Secretary. I am responsible for the oversight and management
of the Office of the Executive Secretary, which oversees the management of written
communication intended for, and originated by, the Secretary and Deputy Secretary of Homeland
Security and maintains official Department records. I have held this position since August 2019.
       I am the custodian of the “Suspension of Enrollment in the Migrant Protection Protocols
Program” memorandum at DHS and the administrative record for that decision for DHS. I certify
that, to the best of my knowledge, information, and belief, the attached index contains the non-
privileged documents considered by DHS, and that these documents constitute the administrative
record the agency considered in issuing the memorandum.
                                                                                   Digitally signed by
       Executed this 28th day of May, 2020 in Washington, D.C.      JULIANA J JULIANA
                                                                              BLACKWELL
                                                                                       J

                                                                    BLACKWELL Date: 2021.05.28
                                                                   _______________________
                                                                               17:56:23 -04'00'


                                                                   Juliana Blackwell
                                                                   Deputy Executive Secretary
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                           )
STATE OF TEXAS,                            )
STATE OF MISSOURI,                         )
                                           )
      Plaintiffs,                          )
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      v.                                   )   Civil Action No. 2:21-cv-00067-Z
                                           )
JOSEPH R. BIDEN, JR.,                      )
in his official capacity as                )
President of the United States, et al.,    )
                                           )
      Defendants.                          )
                                           )

                                      CERTIFIED INDEX

DOCUMENT                                                                          PAGE
  1. Suspension of Enrollments in the Migrant Protection Protocols Program,
     Signed by Acting Secretary David Pekoske on January 20, 2021…………………….001
   Case 2:21-cv-00067-Z Document 45 Filed 05/31/21             PageSecretaJ}'
                                                                    4 of 5 PageID 980
                                                                      U.S. Department of Homeland Securit,Y
                                                                      Washington, DC 20528



                                                                       Homeland
                                                                       Security

                                    January 20, 2021


MEMORANDUM FOR:              Troy Miller
                             Senior Official Performing the Duties of the Commissioner
                             U.S. Customs and Border Protection

                             Tae Johnson
                             Acting Director

                             ~~:~~!::~::~on (;d c/~st:sfEOrca~ ,~/
FROM:
                             Actmg Secretary   {#,f/1.()l         f j;,'.ft{),-,   'tp._
SUBJECT:                     Suspension of Enrollment in the Migrant Protection
                             Protocols Program


Effective January 21, 2021, the Department will suspend new enrollments in the Migrant
Protection Protocols (MPP), pending further review of the program. Aliens who are not already
enrolled in MPP should be processed under other existing legal authorities.




                                               001
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2021, I electronically filed this Administrative Record

with the Clerk of the Court for the United States District Court for the Northern District of Texas

by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will

be accomplished by the CM/ECF system.



                                             /s/ Brian C. Ward
                                             BRIAN C. WARD
                                             U.S. Department of Justice
